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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              PECOS DIVISION



UNITED STATES OF AMERICA,

                   Plaintiff,

v.                                              CRIM. NO. PE:22-CR-00104-DC

JOSE GOMEZ QUIROZ,

                     Defendant.


                                  NOTICE OF APPEAL

       Pursuant to 18 U.S.C. § 3731, the United States of America hereby gives notice that

it appeals the district court’s September 19, 2022, Order granting the Defendant’s motion

for reconsideration and dismissing indictment (Doc. No. 82) to the United States Court of

Appeals for the Fifth Circuit.

                                                Respectfully submitted,

                                                ASHLEY C. HOFF
                                                UNITED STATES ATTORNEY

                                         By:    /s/ Scott V. Greenbaum
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                            CERTIFICATE OF SERVICE

      I hereby certify that on September 19, 2022, I filed this document with the Clerk of

the Court, using the CM/ECF filing system, which will cause a copy of the document to be

delivered to counsel, Jack Meredith, for the defendant.

                                                /s/ Scott V. Greenbaum
                                                Scott V. Greenbaum
                                                Assistant United States Attorney




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